              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:21-cv-00169-MR-WCM


MARCIA BALLARD,                 )
                                )
                   Plaintiff,   )
                                )
vs.                             )                       ORDER
                                )
HENDERSON COUNTY DSS, et al.,   )
                                )
              Defendants.       )
_______________________________ )

      THIS MATTER is before the Court sua sponte.

      The Plaintiff initiated this action on June 29, 2021. [Doc. 1]. Along with

her Complaint, the Plaintiff moved to proceed without the prepayment of fees

and costs.    [Doc. 2].   On July 19, 2021, the Court entered an Order,

concluding that the Complaint was subject to dismissal pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure. [Doc. 3 at 4]. The Court

further found that the Plaintiff had adequate resources with which to pay the

required filing fee. [Id. at 5]. The Court gave the Plaintiff thirty (30) days to

pay the required filing fee and to file an amended complaint addressing the

deficiencies identified in the Court’s Order. [Id. at 5-6]. The Plaintiff was

specifically warned that failure to file an amended complaint or to pay the




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required filing fee would result in the dismissal of this action without

prejudice. [Id.].

      On August 12, 2021, the Clerk of Court received the required filing fee

from the Plaintiff. More than thirty (30) days has passed since the entry of

the Court’s Order, however, and the Plaintiff has failed to amend her

Complaint.    As the Court previously noted [Doc. 3 at 4], the Plaintiff’s

Complaint fails to allege how her constitutional rights were violated, or even

when or where such alleged violations occurred. Without any basic details

about the alleged incidents giving rise to the Plaintiff’s claims, the Complaint

fails to state a claim upon which relief can be granted against any of the

named Defendants.        Accordingly, the Plaintiff’s Complaint is hereby

dismissed without prejudice.

      IT IS, THEREFORE, ORDERED that the Plaintiff’s Complaint is hereby

DISMISSED WITHOUT PREJUDICE.

      The Clerk of Court is respectfully directed to close this civil action.

      IT IS SO ORDERED.
                                   Signed: August 27, 2021




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